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Attorneys for Plaintiff Thomas Eugene Creech


                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF IDAHO

 THOMAS EUGENE CREECH,                   )      Case No. 1:20-cv-114-AKB
                                         )
       Plaintiff,                        )
 v.                                      )      PLAINTIFF’S EMERGENCY
                                         )      MOTION FOR IMMEDIATE
 JOSH TEWALT, Director, Idaho            )      STAY OF EXECUTION
 Department of Correction; TIM           )
 RICHARDSON, Warden, Idaho               )
 Maximum Security Institution; CHAD      )      EXECUTION SCHEDULED
 PAGE, Chief, Division of Prisons, Idaho )      FOR FEBRUARY 28, 2024
 Department of Correction; and           )
 Unknown Employees, Agents, or           )
 Contractors of the Idaho Department )
 of Correction,                          )
                                         )
       Defendants.                       )
                                         )
                                         )
                                         )

      Plaintiff Thomas Eugene Creech seeks an immediate stay of execution to

protect his Eighth Amendment right to be free from cruel and unusual punishment

because the Idaho Department of Correction (IDOC) has just botched his execution.


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Counsel have learned that IDOC just attempted and failed ten times to execute

their client Mr. Creech. They do not currently know whether IDOC intends to try to

execute Mr. Creech again today. Given the badly botched execution attempt this

morning, which proves IDOC’s inability to carry out a humane and constitutional

execution, undersigned counsel preemptively seek an emergency stay of execution to

prevent any further attempts today.

      DATED this 28th day of February 2024.

                                 /s/ Deborah A. Czuba
                                 Mary E. Spears

                                 /s/ Mary E. Spears
                                 Mary E. Spears
                                 Federal Defender Services of Idaho




                           CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of February 2024, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which is designed to send a Notice of Electronic Filing to persons including the
following:

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                                    /s/ Julie Hill
                                    Julie Hill




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